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                EXHIBIT B
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March 14, 2023

Dear Judge Woodlock,

Breaking the law went against every ideal that I cherished and held dear, and it is diametrically
opposite to how I had lived my life up until that point, and contrary to how my wife and I have
raised our four children. I deeply regretted the crime that I committed well before I got caught, and
before I was approached by the FBI in June 2021. I did not need to see any of the government’s
evidence to take responsibility for what I had done. Taking responsibility immediately was the right
thing to do. With my wife Eda’s help I began atoning for my sins, initially by donating the gains to
charity, and vowed to never come close to doing anything even remotely questionable again.

The getting caught part, however, did force me to take a hard look at “the why” and “the how. I
know it wasn’t about the money, I didn’t need it. I have spent dozens of hours in intense therapy
over the last 18 months asking myself why I did what I did. I believe I wanted affirmation from,
perhaps to impress two of my (now former) colleagues. That need for external validation had for
years kept me engaged with nonsense like Instagram and other public facing outlets, detracting from
the time I could devote to the people and things in my life that really matter. I allowed myself for
years to be so dependent and focused on external validation instead of being focused on being at
peace with myself. I foolishly believed that if this person or this person liked me or was nice to me
somehow that would make me happy. I also, with the help of my extremely dedicated therapists,
have been able to hone in on where that misguided need stemmed from and have made tremendous
strides towards rectifying it. So while the feelings of regret, contrition and total and utter shame over
what I did occurred prior to getting caught, I believe the work that has followed afterwards has
actually led me to a place of true healing, a place I may otherwise have never fully gotten to. Getting
caught forced me to constructively address and resolve the issues that led me to commit the crime in
the first place. I know I have become a healthier man as a result.

I believe I am returning to the ideals that guided me for most of my life: I know that if I am not
comfortable with what I am about to do being printed on the front page of the Wall Street Journal,
then it should not and cannot be done. Somehow, during that period of time in 2017/2018 I lost my
focus on these ideals and behaved in a way that I am ashamed of.

With all of that said, I am not a victim here. I am wholly responsible for what I did, and I will fully
accept whatever punishment Your Honor feels is appropriate with a full heart, knowing that justice is
served. I pray that the sentence you deem will be tempered by leniency and compassion so that I
may continue to be a hands-on dad and husband while serving my community and caring for those
who rely on me. I would like to be able to teach my children and others that yes there is real
punishment that you will endure when you break the law but there is also leniency and compassion
that is shown when you react and respond in the right fashion, when you take responsibility for what
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you did and seek to use the bad you’ve done as a springboard to accomplish a tremendous amount of
good.

I believe that is what I am doing now. After consultation with some of the mentors I have in my
life, including my father and Rabbi, it became clear that to atone for this I needed to use my gifts,
my business abilities, in the right way, to benefit those who are not as fortunate as myself—not just
writing a check, but also rolling up my sleeves and being fully hands on. It had to be something
extra, something above and beyond everything my wife and I are already involved in. Rabbi Bryski
felt that it should specifically be service that exposed me to circumstances and individuals with
backgrounds that I had previously never had much exposure to, individuals very much outside of my
community. He subsequently introduced me to Pastor Eric at The Chapman Partnership.

I am fully committed to dedicating the rest of my life to the greater good. I have many projects under
way.

We have created a mentorship program called the “Chapman Champs” at the Chapman Homeless
Shelter in Miami, alongside Pastor Eric (a leader at Chapman), where we meet with a group of men
each week. We teach financial literacy, help them with job interview skills, and we lay out a
customized plan for each of the men to move them out of homelessness and joblessness and back
into the workforce as functioning, contributing members of society. Helping these men find jobs and
homes, and helping them get auto loans, insurance or anything else they might need to stay out of
homelessness is the key and we have had tremendous success doing so. A few of our graduates have
returned as mentors to help Pastor Eric and mewith the next set of mentees. That is the ultimate
“coming full circle.”

My son comes with me when he is home from school to the Chapman Champs sessions, helping to
pass out materials to the mentees and serving them dinner while we teach. My daughter has started
baking for the residents (she runs a thriving baking business and wows them with her unparalleled
skills). She attends every Monday evening session with me and has forged real bonds with the
participants. She has actually gotten a number of the residents to start “journaling,” and this seems to
be having a real and tangible impact on many of them. We are working to start the equivalent of the
Chapman Champs program for women, led by my wife Eda and our daughter Nina.

We have also implemented a Social Enterprise project to create employment opportunities for the
residentswhile they are at the shelter. We are bringing in a training program that will train residents
on how to operate a call center operator. We are setting up a physical call center in an empty space at
Chapman that is not currently being utilized. I am gathering contracts for a Chapman call center
from various friends and colleagues who have a need for such services for their various businesses.
Businesses are excited at the prospect of meeting a critical need while at the same time doing so
much good. The other aspect of the Social Enterprise program is utilizing Chapman’sindustrial
kitchen. We are turning this kitchen into a “Ghost Kitchen” which is a burgeoning industry
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(effectively, restaurants without any real physical presence and which only focus on food delivery).
Residents will get to work in the kitchen for decent wages, and profit will be made for Chapman.
The Ghost Kitchen gets listed on food delivery apps, and will get contracts from various restaurants
that have a need for such services. Chapman will have its own brand listed on these delivery apps
that offers corporate breakfast and lunch catering etc. The customer will see that 100% of the profits
are going to support a very worthwhile cause which would just serve as additional motivation to
order from shelters such as Chapman. Large companies will utilize the catering services, knowing
that they are helping to support and uplift these people out of homelessness. These jobs will pay
significantly above minimum wage. Most of these organizations are wholly dependent on
government funding and private charitable donations. By letting the private sector step in and get
involved we can reduce that dependence and increase the ability of these organizations to continue
doing so much good. I am fully involved in these projects, spending approximately 40% of my time
on them.

Your Honor, this is I believe the highest and greatest use of my abilities and is the way I would like
to spend my future. This is how I believe I can utilize “privilege” for the underprivileged, doing my
absolute best to atone for my sin in a way that greatly benefits society.

The most painful part of this ordeal has been watching the catastrophic effects that my conduct has
had on my family. What has happened to my family – the shunning by the community; the insults
that they have received on my account – this has been the most difficult part for me. I hate knowing
that their pain was caused by me. Because of this, I have also started to speak openly and candidly to
large groups about my failings, imploring other people not to make the bad decisions that have
inflicted so much collateral damage on my family, the people I love the most. Too many people
believe that they can live their lives in so called “grey areas” where rules can be bent, or that they
themselves are somehow “victims” of their own conduct. I hope my message is a resounding rebuttal
to such thinking. The minute you have to start convincing yourself that something is ok, the minute
you feel the need to start “self justifying” RUN IN THE OTHER DIRECTION and once someone
does something wrong, wallowing in self-pity and trying to “play victim” accomplishes
nothing. Owning your conduct and resolving to grow and make sure some real good comes out of it
is the only way forward. I hope to continue giving these speeches going forward, as often as I can. I
am going to do so because I believe that my experience can serve as a deterrence to others from all
walks of life.

I would like to close by expressing gratitude for Your Honor’s decision to seal my mental health
records out of sensitivity for its contents. Our decision to file the motion unsealed was one I
discussed with my wife who advocates for mental health awareness. She and I believe that
in our community, there are stigmas attached to mental health issues (similar to the stigmas in our
community and others that are attached to sexual abuse) which she has been working to
confront. I know first-hand that hiding these issues can have a terrible impact on someone’s life,
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preventing them from obtaining the help they need, and I did not want to contribute to that stigma by
hiding my own mental health struggles.

Thank you, Your Honor, for your time, your sensitivity and your wisdom and may God Bless you.

David
